       Case 4:17-cr-00293-BSM Document 2625 Filed 10/14/22 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                            CENTRAL DIVISION

UNITED STATES OF AMERICA                                                      PLAINTIFF

v.                            CASE NO. 4:17-CR-00293-BSM-45

MARCUS MILLSAP                                                              DEFENDANT

                                         ORDER

       The government’s motion for subpoena [Doc. No. 2575] is granted pursuant to Rule

17(c) of the Federal Rules of Criminal Procedure. The clerk’s office is directed to issue the

government’s proposed subpoena [Doc. No. 2620-1], but with a revision directing Sharon

Carr to deliver the identified documents to my office at the Richard Sheppard Arnold U.S.

Courthouse, 500 W. Capitol Ave., Suite D258, Little Rock, Arkansas 72201, as well as a

copy of the same to Millsap’s lawyer, Lee Curry, at Lassiter & Cassinelli, 300 South Spring

Street, Suite 800, Little Rock, Arkansas, 72201. ATF Task Force Officer Michael Evans is

authorized to serve the subpoena on Carr, and any expenses that are incurred will be paid by

the government. Upon receipt of the identified documents, Millsap will have ten (10) days

to file an ex parte privilege log that details the basis of the claimed privilege for each

document or communication in question, along with an explanatory affidavit of counsel. See

Rabushka ex rel. U.S. v. Crane Co., 122 F.3d 559, 656 (8th Cir. 1997). An in camera review

will then be conducted and the government will be permitted to make copies of any non-

privileged documents.
Case 4:17-cr-00293-BSM Document 2625 Filed 10/14/22 Page 2 of 2




IT IS SO ORDERED this 14th day of October, 2022.



                                      ________________________________
                                      UNITED STATES DISTRICT JUDGE
